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 Lawrence Katz, Esq.
 Law Offices of Lawrence Katz,
 70 East Sunrise Highway, Suite 500
 Valley Stream, NY 11581
 516-374-2118
 Attorneys for Defendants
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
                                                :
  EXPRESS FREIGHT SYSTEMS INC., :                   Case: 2:19-cv-12001-SDW-LDW
                                                :
                                     Plaintiff, :
                                      :
                   - against -
                                      :
                                      :
  YMB ENTERPRISES INC., JOEL          :
  MENDLOVIC, JOHN DOES 1-10 and :
  ABC CORPS. 1-10 (said names being   :
  fictitious),                        :
                                      :
                          Defendants. :

                                 ATTORNEY AFFIRMATION

       Lawrence Katz affirms the following under the laws prohibiting perjury:

       1.     I am one of the attorneys representing for the Law Offices of

 Lawrence Katz representing YMB ENTERPRISES INC. and JOEL MENDLOVIC

 in this matter.

       2.     I state the following based on familiarity of the record of the file in

 my office in support of the motion to dismiss the complaint pursuant to FRCP

 12(b)(1)-(2) for the absence of jurisdiction, and pursuant to FRCP 12(b)(5) for the

 failure to serve; and for such other and further relief in favor of this motion
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 including alternative relief pursuant to FRCP to 12(b)(3) to transfer this case to

 the venue where Defendants are domiciled either in the United States District

 Court for the Eastern District of New York or to the Supreme Court of New York

 for King (Brooklyn) County.

       3.    In support of this motion, I submit the following exhibits in support:

             Exhibit A: MOTOR CARRIER TRANSPORTATION CONTRACT
             executed between EXPRESS FREIGHT SYSTEMS INC and YMB
             ENTERPRISES INC., showing that the parties did not select the State
             of New Jersey as a venue; and
             Exhibit B: the business registration for YMB ENTERPRISES INC. as
             registered with the Division of Corporations at the Secretary of State
             for the State of New York with the address for service of process for
             YMB ENTERPRISES INC. being at 199 Lee Avenue, Brooklyn, NY
             11211 and the office of JOEL MENDLOVIC being at 282 Wallabout
             Street, 1-B, Brooklyn, NY 11201.
       4.    I incorporate herein the Brief in Support of Defendants’ Motion at its

 fully pleading, and request that the Court so order, the proposed order attached.

       Dated:       Valley Stream, NY
                    July 26, 2018
                                                Law Offices of Lawrence Katz

                                                / s / Lawrence Katz
                                                __________________________
                                                By: Lawrence Katz

                                                70 East Sunrise Highway, Suite 500
                                                Valley Stream, NY 11581

                                                Attorneys for Defendants
